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Exhibit A
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a3e-20-1-0324 OUTITEN(E)GOLDEN..

Advocates for Workplace Fairness

August 3, 2017

By FedEx & Email = = .
John B. Douglass 3 mf
Supervisory Investigator A OO
U.S. Equal Employment Opportunity Commission a
33 Whitehall Street, 5th Floor ‘AS -»
New York, NY 10004 os
John.douglass@eeoc. gov "™

©

Re: Kaloma Cardwell/Davis Polk & Wardwell LLP

Dear Mr. Douglass:

This firm represents the charging party, Kaloma Cardwell. Enclosed for filing is a charge of
discrimination. Please file it and inform us of the charge number.

Please ensure that we receive copies of all notices or other correspondence with our client.
In addition, we request a copy of the Respondent’s position statement so that we may respond to it.

Please call me if you have any questions.

Sincerely yours,

Cara E. Greene

c: Monique E. Chase, Esq.

Enclosures

New York 685 Third Avenue 25th Floor New York, N'Y 10017 Tel (212) 245-1000 Fax (646) 509-2060
Chicago 161 N Clark Street Suite 1600 Chicago, IL 60601 Tel (312) 809-7010 Fax (312) 809-7011
San Francisco One Embarcadero Center 38th Floor San Francisco, CA 94111 Tel (415) 638-8800 Fax (415) 638-8810
Washington, DC 601 Massachusetts Ave NW Second Floor West Suite Washington, DC 20001 Tel (202) 847-4400 Fax (202) 847-4410
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CHARGE OF DISCRIMINATION |__ AGENCY CHARGE NUMBER

This form is affected by the Privacy Act of 1974, See Privacy Act Statement before |] FEPA

completing this form
| mm | EEOC

NYC Human Rights Commission and EEOC
State or local Agency, if any

 

 

 

 

 

 

NAME (J/ndicate Mr, Ms , Mrs ) HOME TELEPHONE (Jnclude Area Code)

Mr. Kaloma Cardwell 267-408-8392

STREET ADDRESS CITY, STATE & ZIP CODE DATE OF BIRTH
10 West 135" Street, Apt. 1B New York, NY 10037 5/10/1984

 

 

 

NAME OF THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR LOCAL
GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (If more than one list below.)

 

 

 

 

 

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYEES, MEMBERS | TELEPHONE (Include Area Code)
Davis Polk & Wardwell LLP 900+ 212-450-4000
STREET ADDRESS CITY, STATE, AND ZIP CODE COUNTY
450 Lexington Avenue, New York, NY 10017 New York
NAME TELEPHONE NUMBER (Include Area Code)
STREET ADDRESS CITY, STATE, ZIP CODE COUNTY
CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es) DATE DISCRIMINATION TOOK PLACE
EARLIEST (ALL) LATEST (ALL)
race[___] coLor [__]sex [| RELIGION| _J AGE July 1, 2017
RETALIATION | NATIONAL | | DISABILITY | | OTHER
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THE PARTICULARS ARE (If additional paper is needed, attach extra sheet (s)): ~ =
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mF
9) -O =”
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5 SS :
oo
on

 

. *NOTARY — (When necessary for State and Local Requirements)
@ I want this charge filed with both the EEOC and the State or local Agency, if

 

any. 1 will advise the agencies if] change my address or telephone number and Tswear or affirm that I have read the above charge and that it 1s true to the best
cooperate fully with them in the processing of my charge in accordance with their

of my knowledge, mformation andbelief
procedure. aan
I declare under penalty of perjury that the foregoing 1s true and correct

 

 

SIGNATURE OF COMPLAINANT

7 /r ? i 7 Ow Ce SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Date

(Day month, and year)
Charging Party (Signature) (Punic Yecene H
21 2/2

 

 

 

EEOC FORM 5 (Test 10/94)

 

 

 
